
In re Williams, Cleveland; applying for writ of certiorari and/or review; to the Court of Appeal, Fourth Circuit, No. KA-3391; Parish of Orleans, Criminal District Court, Div. “I”, No. 300-694.
Prior report: La.App., 480 So.2d 432.
Granted. The conviction is affirmed. The sentence is amended, however, to delete only that portion which imposes one additional year in default of payment of the $1000.00 fine. Bearden v. Georgia, 461 U.S. 660, 103 S.Ct. 2064, 76 L.Ed.2d 221 (1983); Tate v. Short, 401 U.S. 395, 91 S.Ct. 668, 28 L.Ed.2d 130 (1971); Morris v. Schoonfield, 399 U.S. 508, 90 S.Ct. 2232, 26 L.Ed.2d 773 (1970); Williams v. Illinois, 399 U.S. 235, 90 S.Ct. 2018, 26 L.Ed.2d 586 (1970).
